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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF NEW YORK


DEBORAH LAUFER,                                :
                                               :
       Plaintiff,                              :
v.                                             :
                                               :       Case No. 1:20-cv-00467
WEBBS MOTEL, INC.                              :
                                               :
       Defendant.                              :

      PLAINTIFF’S RESPONSE TO NOTICE OF SUPPLEMENTAL AUTHORITY

       Plaintiff, by and through undersigned counsel, hereby responds to the Notice Of Supplemental

Authority filed by Defendant.

       In Laufer v. Arpan, LLC, 1:19-cv-200-AW-GRJ, DE 45 (N.D. Fla. 9/25/20), one court

recently held that Laufer lacks standing unless she intended to book a room at the hotel. Plaintiff

submits that this holding is flawed for many reasons. Indeed, every reason stated by the Arpan Court

represents a complete misreading of applicable law

       A.      The Arpan Court Misread Spokeo v. Robins

       First, the Arpan Court relied on Spokeo, Inc. v. Robins, 136 S. Ct. 1540 (2016). However,

nowhere in the Court’s opinion does it appear that the Court considered Spokeo’s express

acknowledgment of a statutory right to informational injury for which no additional injury is required.

Indeed, Spokeo supports plaintiff’s standing. In Spokeo, the Supreme Court held that improper

information which violated the Fair Credit Reporting Act did not, by itself, constitute injury1.


       1
        It should be noted that the Fair Credit Reporting Act was intended to protect one class of
persons, debtors, from incorrect information provided to a different class of persons - creditors.
By contrast, in anti-discrimination statutes such as the ADA, the injury occurs when the disabled
person receives the discriminatory information from the defendant that the defendant was legally

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However, the Spokeo Court specifically recognized the existence of statutes which provide that the

dissemination of improper information constitutes an injury with nothing more required. In this

regard, the Spokeo Court stated:

                Just as the common law permitted suit in such instances, the violation of a procedural
        right granted by statute can be sufficient in some circumstances to constitute injury in fact.
        In other words, a plaintiff in such a case need not allege any additional harm beyond the one
        Congress has identified. See Federal Election Comm’n v. Akins, 524 U. S. 11, 20-25, 118
        S. Ct. 1777, 141 L. Ed. 2d 10 (1998) (confirming that a group of voters’ “inability to obtain
        information” that Congress had decided to make public is a sufficient injury in fact to satisfy
        Article III); Public Citizen v. Department of Justice, 491 U. S. 440, 449, 109 S. Ct. 2558,
        105 L. Ed. 2d 377 (1989) (holding that two advocacy organizations’failure to obtain
        information subject to disclosure under the Federal Advisory Committee Act “constitutes a
        sufficiently distinct injury to provide standing to sue”).

Spokeo, 136 S.Ct. At 1549-50. In the Akins decision referenced by Spokeo, the Supreme Court, in

turn, referenced Havens Realty as follows:

                Indeed, this Court has previously held that a plaintiff suffers an "injury in fact" when
        the plaintiff fails to obtain information which must be publically disclosed pursuant to a
        statute..... See also Havens Realty Corp. v. Coleman, 455 U.S. 363, 373-374[] (1982)
        (deprivation of information about housing availability constitutes "specific injury" permitting
        standing).

Akins, 524 U.S. at 21. Thus, the Spokeo Court neither overturned nor narrowed Havens Realty, but

instead acknowledged the body of law to which Havens Realty belongs.2 Indeed, the concurring and

dissenting opinions in Spokeo expressly recognized Havens Realty. Spokeo, 136 S.Ct. at 1553

(Thomas J., Concurring); 136 S.Ct. At 1555 (Ginsburg, J. Dissenting).

        B.      The Arpan Court Misread Carello And Griffin


required to provide to the plaintiff.
        2
         In Houston v. Marod Supermarkets, Inc., 733 F.3d 1323, passim (11th Cir. 2013),
passim, the Eleventh Court found substantial similarities between the operative language of the
ADA and the statute at issue in Havens Realty with regard to the issue of the lack of any motive
or intent requirement of the individual plaintiff.

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        The Arpan Court also mistakenly relied on the Fourth Circuit decision in Griffin v. Deparment

of Labor Federal Credit Union, and the Seventh Circuit opinion in Carello v. Aurora Policeman

Credit Union, 930 F.3d 830 (7th Cir. 2019). It is readily apparent from the Court’s opinion that it

simply failed to fully read either of these cases.

        First, the Arpan Court overlooked the disclaimer set forth in Griffin that its holding was

confined to circumstances where the plaintiff was “legally barred” from becoming a member of the

defendant’s exclusive credit union. Id., at 653. The court specifically stated that it was not

considering “the rights generally of people with disabilities to sue for Internet-based harms under the

ADA”. 912 F.2d at 653. The context in which Griffin fits in with the law is illustrated by the Seventh

Circuit’s opinion in Carello v. Aurora Policemen Credit Union, 930 F. 3d 830, 832-33 (7th Cir. 2019)

, which followed and expressly stated its holding was “no broader” than Griffin. Significantly, the

Carello Court distinguished itself from the sorts of websites applicable to the case at bar, stating:

“Carello does not complain that the Credit Union withheld information....”3 Id. at 835 (emphasis

added). Thus, the Carello Court expressly distinguished the statute at issue therein with the type of

statute and regulation at issue in the case at bar - which require the disclosure of certain information

and an option to book. Indeed, the Carello Court recognized that informational injury is actionable

when the defendant fails to provide information to a plaintiff that a law entitles him to obtain and

review for some substantive purpose. Id. at 835. “Once that occurs, there is no additional requirement

that the plaintiff suffer any additional harm beyond his or her failure to receive the information that

the law renders subject to disclosure. Id., citing Spokeo, Inc. v. Robins, 136 S. Ct. 1540 (2016).



        3
       Although the Arpan Court cited this passage, at p., 14, it obviously did not understand its
meaning.

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Specifically, the Carello Court stated:

       An informational injury occurs when the defendant refuses to provide the plaintiff with
       information that a law—typically, a sunshine law—entitles him to obtain and review for some
       substantive purpose. See, e.g., Fed. Election Comm'n v. Akins, 524 U.S. 11, 21, 24-25, 118
       S. Ct. 1777, 141 L. Ed. 2d 10 (1998) (concluding that voters' inability to obtain information
       subject to disclosure under the Federal Election Campaign Act of 1971 is a sufficiently
       concrete injury); Pub. Citizen v. U.S. Dep't of Justice, 491 U.S. 440, 449, 109 S. Ct. 2558,
       105 L. Ed. 2d 377 (1989) (explaining that, to satisfy Article III's injury requirement, advocacy
       organizations requesting information subject to disclosure under the Federal Advisory
       Committee Act need only show "that they sought and were denied" the information); Casillas
       [v. Madison Ave., Assoc., 926 F.3d 329,] 337-38 [(7th Cir. 2019)] ("[Akins and Public
       Citizen] hold that the denial of information subject to public disclosure is one of the intangible
       harms that Congress has the power to make legally cognizable." (emphasis omitted)). In such
       cases, a plaintiff "need not allege any additional harm beyond" his failure to receive
       information that the law renders subject to disclosure. Spokeo, 136 S. Ct. at 1549.

       In this regard, Carello squarely recognizes a plaintiff’s right to sue under this circumstance.

The Regulation was promulgated for the purpose of providing a right of this plaintiff and other

disabled persons to the right to book a room and further requiring the provision of specific

information regarding accessibility at a hotel. Under Carello and Spokeo, the failure to provide this

information gives rise to actionable injury.

       C.      The Arpan Court Misread Havens Realty

       Moreover, the Arpan misread Havens Realty Corp. v. Coleman, 455 U.S. 363 (1982), in

several ways. First, the Arpan Court expressed the mistaken notion that Havens Realty only

recognized standing because one of the plaintiffs was an organization and, therefore, the other

individual plaintiffs were irrelevant. There is nothing in Havens Realty’s opinion that supports this

interpretation. To the contrary, the Havens Realty Court expressly recognized the right of the

individual plaintiffs to sue because the statute gave this right to “any person”. The Havens Realty

Court further recognized that: “Congress has thus conferred on all "persons" a legal right to truthful



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information about available housing.” Id., at 373-74. See also, pp. 374 (recognizing the standing of

individual Coleman).

        The Arpan Court also attempted to distinguish itself on the basis that the Havens Realty

defendants told prospective white renters one thing and prospective black renters another and

reasoned that Havens Realty was about intentional discrimination and disparate treatment rather than

informational injury. Again, this interpretation is completely lacking in any legitimate basis and there

is no language in the Supreme Court’s opinion to support this conclusion. To the contrary, the

Havens Realty Court specifically stated as follows:

        Thus, even though the individual testers had no intention of renting or purchasing a home or
        apartment, “Congress has thus conferred on all "persons" a legal right to truthful
        information about available housing.” Id. The Court noted that the statute “establishes an
        enforceable right to truthful information concerning the availability of housing....A tester
        who has been the object of a misrepresentation made unlawful under § 804(d) has suffered
        injury in precisely the form the statute was intended to guard against, and therefore has
        standing to maintain a claim for damages under the Act's provisions. That the tester may have
        approached the real estate agent fully expecting that he would receive false information, and
        without any intention of buying or renting a home, does not negate the simple fact of injury
        within the meaning of § 804(d).

Havens Realty, 455 U.S. at 373-74 (emphasis added). In subsequent opinions, the Supreme Court

expressly recognized that Havens Realty stands for the proposition that it is about the right to receive

truthful information and that failure in this regard constitutes injury. In the Akins decision, the

Supreme Court referenced Havens Realty as follows:

                Indeed, this Court has previously held that a plaintiff suffers an "injury in fact" when
        the plaintiff fails to obtain information which must be publically disclosed pursuant to a
        statute..... See also Havens Realty Corp. v. Coleman, 455 U.S. 363, 373-374[] (1982)
        (deprivation of information about housing availability constitutes "specific injury" permitting
        standing).

Akins, 524 U.S. at 21 (emphasis added.)



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        This same point was made in Havens Realty’s own dissenting opinion. 136 S.Ct. At 1555

(Ginsburg, J. Dissenting)(noting that Havens Realty identified the right to truthful information).

Various circuit courts have cited Havens Realty in reaching similar conclusions in recognizing

informational injury. See Ragin v. Harry Maclowe Real Estate Co., 6 F.3d 898, 904 (2nd Cir.

1993)(black testers had standing to sue over discriminatory advertisement even though they had no

intention of renting apartment); Watts v. Boyd Properties, 758 F.2d 1482, 1485 (11th Cir.

1985)(noting Havens Realty’s holding that plaintiff had right against receiving false information);

Bensman v. United States Forest Serv., 408 F.3d 945, 955-57 (7th Cir. 2005)(surveying cases and

statutes where informational injury is recognized and actionable); Carter v. Welles-Bowen Realty, Inc.

553 F.3d 979, 989 (6th Cir. 2009)(discussing informational injury); Wilderness Soc’y v. Rey, 622 F.3d

1251, 1258-60 (9th Cir. 2010)(discussing informational injury); Tandy v. City of Wichita, 380 F3d

1277, 1290 (10th Cir. 2004)(Title II ADA tester has standing to sue for failure to provide required

information); In re Nickelodeon Consumer Privacy Litig., 827 F.3d 262, 273-74 (3rd Cir.

2016)(recognizing intangible harm as including unlawful denial of access to information subject to

disclosure).4

        In Ragin, 6 F.3d at 904, the Second Circuit applied Havens Realty in holding that black

testers (who had no intention of renting a room) had standing over a discriminatory advertisement

contained in a newspaper.

        Thus, the Arpan Court’s reasoning that Havens Realty was about disparate treatment, rather



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         A comparison between the statute at issue in Spokeo with the case at bar is appropriate.
Spokeo involved the Fair Credit Reporting Act, which required that the defendant provide certain
accurate information to third party creditors. By contrast, the Regulation and Statute governing
this case require that the defendant provide information directly to the plaintiff.

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than informational injury, is completely unfounded. In support of this conclusion, the Arpan Court

stated that Laufer had no right because “[s]he had access to the same information as everyone else.”

The Arpan court did not consider that this analogy would apply equally to all other aspects of the

ADA. For example, it can just as easily be observed that disabled persons and non-disabled persons

alike would equally encounter such discriminatory violations as missing handicap parking spaces, curb

ramps, grab bars, etc.. However, whereas such violations do not discriminate against a non-disabled

person who has no need of a handicap parking space, it does discriminate against disabled persons

who observe the exact same condition. The only other authority which shared this conclusion is

Hernandez v. Caesars License Co., LLC, 2019 U.S. Dist. LEXIS 172456, * 10 (N.J. Dist.

2019)(reasoning that Havens Realty was about differential treatment), cited by the Arpan Court at

p. 11.

         The reasoning that Havens Realty stands only for differential treatment, rather than

informational injury is contrary to the weight of authorities. See Havens Realty, 455 U.S. at 373-74

(deprivation of plaintiffs’ right to truthful information is actionable injury); Akins, 524 U.S. at

21(citing Havens Realty on the point that “[i]ndeed, this Court has previously held that a plaintiff

suffers an "injury in fact" when the plaintiff fails to obtain information which must be publically

disclosed pursuant to a statute..... ); Carello, 930 F.3d 830 (informational injury occurs when the

defendant refuses to provide the plaintiff with information that a law...entitles him to obtain and

review for some substantive purpose.”

         For example, the Arpan Court’s holding on this point is completely inconsistent with the

Second Circuit’s Opinion in Ragin, 6 F.3d at 904, which involved a discriminatory advertisement.

Obviously, the advertisement, placed in a newspaper, was equally visible by both Black and White


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persons alike. But whereas seeing the same advertisment did not discriminate against White persons,

it did discriminate against Black. A discriminatory hotel online reservations system is no different.

       Accordingly, the Arpan Court’s holding that this Plaintiff has no injury because the hotel’s

online reservations system gives her the same information as any other member of the general public

is unfounded. As explained by the authorities above, the Statute and Regulation impose a requirement

that the defendant provide certain information, as well as the option to book, to the plaintiff. Under

the case law cited above, the failure to do so gives rise to actionable injury.

       D.      The Arpan Court Mistakenly Relied On Hernandez v. Caesars License

       At p. 11, the Arpan Court cited Hernandez for the proposition that a person must intend to

book a room in order to suffer online reservation injury. However, Hernandez is substantially flawed

and was never appealed. If it had been, it is dubious that Herndandez would have been upheld in light

of the body of authorities cited in this Memorandum. First, the Hernandez court did not considered

the plain language of the statute, the rules of statutory construction, the overwhelming number of

other decisions holding to the contrary, and misinterpreted Havens Realty (as discussed supra).

Second, the Hernandez court cited two other court holdings in support of its proposition that intent

to book a room is required. However, neither opinion stands for such a holding. One case cited by

the Hernandez Court is Juscinska v. Paper Factory Hotel, LLC, 2019 U.S. Dist. Lexis 92550

(S.D.N.Y. 2019). However, the Juscinska court only noted that the plaintiff had the intention of

booking a room. It never held that such an intent was required. Noting that the plaintiff intended to

book a room is far different from holding that this is a requirement of the law.

       The second case cited by the Hernandez Court was Poschmann v. Coral Reef Of Key

Biscayne Developers, Inc., 2018 U.S. Dist. Lexis 87457 (S.D. Fla. 5/22/18). However, the


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Poschmann decision actually stated that solely testing a website system for compliance satisfies

standing. Poschmann, 2018 U.S. Dist. Lexis 87457 at *8 (“Plaintiff intends to return to the Website

within thirty days to determine whether the Hotel is accessible to him, and, if so, to reserve a room

at the Hotel or to test the Hotel's Website reservation system for its compliance with the

ADA.”)(emphasis added). By this language, the Poschmann opinion held the exact opposite of what

the Hernandez court stated. In sum, the Hernandez decision is entirely founded on its own misreading

of other cases.

        E.        The Arpan Court Misread The Statute By Ignoring Critical Sections

        The Arpan Court also misread the plain language of the ADA. In this regard, the Arpan Court

held that:

               Laufer cannot show she suffers the harm the ADA was designed to guard against. The
        substantive Title III right at issue is the right “to be free from disability discrimination in the
        enjoyment of the facility.” Houston [v. Marod Supermarkets, Inc.], 733 F.3d [1323]at 1332
        [(11th Cir. 2013)]. The regulation requiring hotels to include certain information on their
        websites-28 C.F.R. § 36.302(e)(1)—is specifically tied to 42 U.S.C. § 12182, which prevents
        discrimination in the enjoyment of a facility. There is no standalone right to have certain
        information on a website.

Arpan, at 13. Again, Arpan failed to read the applicable law. First, Marod involved a plaintiff’s visit

to a physical facility, rather than a website or other intangible element. Therefore, Marod’s reference

to the word “facility” was appropriate to its own facts. By contrast Arpan’s reference to the same

word was not. Indeed, Arpan ignored the Eleventh Circuit’s holding that a commercial website is

a “service” of the “place of public accommodation”. See Haynes v. Dunkin Donuts, LLC, 741 Fed.

Appx. 752 (11th Cir. 2018)(unpublished opinion).

        Arpan ignored the other language and provisions of the statute. The general prohibition, set

forth at 42 U.S.C. Section 12182(a) provides:


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        No individual shall be discriminated against on the basis of disability in the full and equal
        enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of any
        place of public accommodation by any person who owns, leases (or leases to), or operates
        a place of public accommodation.

(Emphasis added.) By use of the word “or”, Congress clearly intended for the statute to cover both

services or facilities. The Arpan Court completely ignored the presence of such words as “services”

and “or”. Moreover, the Arpan Court completely ignored the plain language of Section

12182(b)(2)(A) and 12188. Section 12188 expressly gives the right of action to “to any person who

is being subjected to discrimination on the basis of disability”. Moreover, as the Regulation was

promulgated5 pursuant to 12182(b)(2)(A)(ii), the statute expressly states that failure to comply

constitutes “discrimination.” Section 12182(b)(2)(A).

        Thus, Arpan’s opinion that “there is not standalone right to have information on a website”

clearly evidences that it did not read, or did not consider, the several passages which in fact establish

such right.

        F.      The Arpan Court Completely Ignored The Rules Of Statutory Construction

        The Arpan Court never considered the applicable rules of statutory construction, set forth by

the Supreme Court, circuit courts, and is argued in Plaintiff’s previously filed Memorandum. As

described above, the Arpan Court ignored plain language in the statute, such as “services”, “or”,

“discrimination”, and “any person subjected to discrimination”, or the Regulation itself. It ignored the

fact that none of the provisions governing hotel online reservations have any reference to a plaintiff’s

intent or connection to the facility. Nor did the Arpan Court notice that other provisions do indeed



        5
        The DOJ promulgated 28 C.F.R. 36.302 to carry out the provisions of the ADA.
Poschmann v. Coral Reef of Key Biscayne Developers, Inc., 2018 U.S. Dist. LEXIS 87457 *6
(S.D. Fla. May 23, 2018).

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impose such requirements. For example, a plaintiff suing under 12182(b)(1)(A) must be a client or

customer. As another example, a person suing for discriminatory eligibility criteria can only do so if

it prevents him or her “from fully and equally enjoying any goods, services, facilities, privileges, etc.”

        Thus, the Arpan Court’s holding is premised on the fact that it ignored plain language of the

Statute and Regulation. Section 12188 gives the right to sue to “any person subjected to

discrimination. Section 12182(b)(2)(A), subparagraph (A)(ii) and the Regulation require hotel online

reservations services to provide certain information to the plaintiff, the violation of which constitutes

“discrimination”. Section 12182(a) proscribes deprivation “in the full and equal enjoyment of the ...

services... of any place of public accommodation...”

        G.      The Arpan Court Incorrectly Held That Plaintiff Should Have Called The Hotel

        The Arpan Court also held that the Plaintiff could have called the hotel. Arpan, at 14. Again,

Arpan’s reasoning is contrary to law. In Poschman v. Coral Reef Of Key Biscayne Developers, Inc.,

2018 U.S. Dist. Lexis 87457 (S.D. Fla. 5/22/18), one court rejected such an argument. There, the

defendant had argued that the disabled plaintiff could have called the hotel by telephone or by

emailing the hotel through information on its “Contact Us” tab on the website. The Poschmann

Court rejected this argument, stating:

        The relevant regulation provides that a reservation for an accessible guest room must be able
        to be made "during the same hours and in the same manner as individuals who do not need
        accessible rooms." § 36.302(e)(1)(i). Guidance published by the DOJ on the regulation further
        clarifies its meaning. See Thomas Jefferson Univ. v. Shalala, 512 U.S. 504, 512, 114 S. Ct.
        2381, 129 L. Ed. 2d 405 (1994) (giving "substantial deference" and "controlling weight" to
        an agency's interpretation of its own regulations). The guidance provides that "basic
        nondiscrimination principles mandate that individuals with disabilities should be able to
        reserve hotel rooms with the same efficiency, immediacy, and convenience as those who do
        not need accessible guest rooms. 28 C.F.R. Pt. 36, App. A, Guidance on Revisions to ADA
        Regulation on Nondiscrimination on the Basis of Disability by Public Accommodations and
        Commercial Facilities (Mar. 15, 2011) (hereinafter "DOJ Guidance") (emphasis added)


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       (rejecting comments by hotels to change language to "in a substantially similar manner" from
       "in the same manner"). Irrespective of whether individuals seeking to make reservations can
       do so by telephone or by email, it is readily apparent that individuals seeking to reserve
       accessible hotel rooms cannot do so on the Website in the same manner — with the same
       efficiency, immediacy, and convenience — as those seeking to reserve non-accessible guest
       rooms. § 36.302(e)(1)(I).

2018 U.S. Dist. Lexis 87457 at **10-11. See also Juscinska v. Paper Factory Hotel, LLC, 2019

U.S. Dist. Lexis 92550 **9-10 (S.D.N.Y. 2019)(ability to telephone or email hotel is not “same

manner” and therefore not a viable defense).

       H.      Conclusion

       For the reasons stated above, Arpan’s holding is completely flawed.



                                                    Respectfully submitted,


                                                    By: /s/Jonathan E. Staehr
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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 2, 2020 I electronically filed the foregoing Plaintiff’s

Response to Notice of Supplemental Authority pursuant to F.R.C.P. 41(a)(1)(A)(i) with the Clerk

of the Court by using the CM/ECF System, which sent notice of such filings to all parties.

                                                     /s/ Jonathan E. Staehr__________________
                                                     Jonathan E. Staehr, Esq.




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